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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                            :
                                                    :
                v.                                  :
                                                    :        CASE NO. 22 Cr. 070 (RDM)
LUCAS DENNEY,                                       :
                                                    :
                            Defendant.              :


                                         STATUS REPORT

        The United States of America, by and through the United States Attorney, hereby submits

this joint status report.

                 FACTUAL BACKGROUND AND PROPOSED SCHEDULE

        On March 17, 2022, the defendant, Lucas Denney, pled guilty to a one-count Indictment

charging him with Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous

Weapon, in violation of 18 U.S.C. §§ 111(a)(1) and (b).      At the sentencing hearing on July 21,

2022, the Court indicated that it believed an evidentiary hearing might be necessary to resolve

certain disputes between the parties.    On August 19, 2022, the Government, on behalf of both

parties, filed a Joint Statement of Offense (ECF No. 60-1), to which the parties agreed and

stipulated.   In light of that statement, the Government informs the Court that, after conferring

with defense counsel, it is the Government’s understanding that neither party intends to call

witnesses at the hearing scheduled for September 28, 2022.    The parties intend to make arguments

based on the Joint Statement of Offense and the various exhibits filed in this case (Government
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Exhibits 1-27 and Defense Exhibits 1-3).



                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           DC Bar No. 481052


                                    By:      /s/ Benet J. Kearney
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                                     CERTIFICATE OF SERVICE

       I certify that a copy of the Joint Status Report was served on all counsel of record via the

Court’s electronic filing service.




                                              /s/ Benet J. Kearney_______
                                             BENET J. KEARNEY
                                             Assistant United States Attorney


Date: September 27, 2022
